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                     IN THE UNITED STATES DISTRICT COURT FOR T                          U"r 2 7 20IS
                               EASTERN DISTRICT OF VIRGINIA                         CLERK. U.S. DlSrriiCiC.'jiJi
                                                                                        ALEXANDRIA, Vi".G:h;>,     |
                                        Alexandria Division

 UNITED STATES OF AMERICA
                                                         Criminal No. l:I6-cr-163
                V.


                                                         Count 1: 18U.S.C. § 2339B
 MOHAMED BAILOR JALLOH,                                       Attempting to Provide Material Support
                                                              to a Foreign Terrorist Organization
        Defendant.



                                  CRIMINAL INFORMATTOM


        THE UNITED STATES ATTORNEY CHARGES THAT:
        From in or about June 2015, and continuing thereafter until July 3, 2016, within Loudoun
County Virginia in the Eastern District of Virginia and elsewhere, including locations outside of
the United States, defendant MOHAMED BAILOR JALLOH did unlawfully and knowingly
attempt to provide "material support or resources," as that term is defined in Title 18, United
States Code, Section 2339A(b), to wit, personnel to the Islamic State of Iraq and the Levant
( ISIL ), the service ofattempting to procure aweapon which he believed would be used in an
ISIL directed attack on U.S. soil, and money to support ISIL, which at all relevant times was
designated by the Secretary of State as aforeign terrorist organization pursuant to Section 219 of
the Immigration and Nationality Act, knowing that ISIL was adesignated foreign terrorist
orgamzation, that ISIL engages and has engaged in terrorist activity, and that ISIL engages and
has engaged in terrorism.

             (All in violation of Title 18, United States Code, Section 2339B(a)(I).)
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